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Debtor      Al
           _Na_l
               _e
             _me_g
                 __i
                   a__n_c_eCo
                          ______a
                                _l
                                 __USAL
                                   _______i
                                          _mi
                                           ___t
                                              e__d______________________                                     Casenumber(ifknown)_____________________________________

    filedbyoragainstthedebtor 
 9. Werepriorbankruptcycases  4No
    withinthelast8years?       Yes. District _______________________ When MM
                                                                           _______________ Casenumber_________________________
                                                                              /DD/YYYY
    Ifmorethan2cases,attacha                      District _______________________ When _______________ Casenumber_________________________
    separatelist.                                                                       MM /DD/YYYY
 10.Areanybankruptcycases
    pendingorbeingfiledbya               No
    businesspartneroran                 4Yes. Debtor _Se
                                                       ___ea
                                                          ____t
                                                              t_a__c_h_e__dSc
                                                                          _____h
                                                                               _e
                                                                                __d
                                                                                  _u
                                                                                   __l
                                                                                     e1
                                                                                     ___________________ Relationship _________________________
    affiliateofthedebtor?                         District _____________________________________________ When                                                __________________
    Listallcases.Ifmorethan1,                                                                                                                                MM / DD /YYYY
    attachaseparatelist.                          Casenumber,ifknown ________________________________

 11.Whyisthecasefiledinthis Checkallthatapply:
    district?                           4Debtorhashaditsdomicile,principalplaceofbusiness,orprincipalassetsinthisdistrictfor180days
                                          immediatelyprecedingthedateofthispetitionorforalongerpartofsuch180daysthaninanyother
                                          district.
                                         Abankruptcycaseconcerningdebtor’saffiliate,generalpartner,orpartnershipispendinginthisdistrict.
 12.Doesthedebtorownorhave
    possessionofanyreal         No     4
    propertyorpersonalproperty  Yes.Answerbelowforeachpropertythatneedsimmediateattention.Attachadditionalsheetsifneeded.
    thatneedsimmediate               Whydoesthepropertyneedimmediateattention? (Checkallthatapply.)
    attention?
                                                 Itposesorisallegedtoposeathreatofimminentandidentifiablehazardtopublichealthorsafety.
                                                  Whatisthehazard?_____________________________________________________________________
                                                 Itneedstobephysicallysecuredorprotectedfrom theweather.
                                                 aItttinecnltuiodnes(foprereisxhaampblele,golivoedsstoocrka,ssseeatssothnaatlgcoouolddsq,umeickalty,ddeatireyr,ioprraotdeuocrel,oosresveacluueritiwi
                                                                                                                                                                                                    thout
                                                                                                                                                                                                   es-related
                                                  assetsorotheroptions).
                                                 Other_______________________________________________________________________________
                                                Whereistheproperty?_____________________________________________________________________
                                                                                      Number        Street
                                                                                      ____________________________________________________________________
                                                                                      _______________________________________ _______ ________________
                                                                                      City                                      StateZIPCode
                                                Isthepropertyinsured?
                                                 No
                                                 Yes.Insuranceagency____________________________________________________________________
                                                             Contactname ____________________________________________________________________
                                                             Phone       ________________________________

          Statisticalandadministrativeinformation



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                                     Schedule1
                PendingorCurrentBankruptcyCasesFiledbyAffiliates
       OnFebruary21,2023,eachoftheaffiliatedentitieslistedbelow(includingthedebtorin
thischapter11case)filedavoluntarypetitionforreliefundertitle11oftheUnitedStatesCode
intheUnitedStatesBankruptcyCourtfortheDistrictofDelaware.Amotionwillbefiledwith
theCourtrequestingthatthechapter11casesoftheseentitiesbejointlyadministeredfor
proceduralpurposesonly.
EntityName                              FederalEmployerIdentificationNumber(EIN)
AllegianceCoalUSALimited                                  XX-XXXXXXX
NewElkCoalHoldingsLLC                                     XX-XXXXXXX
NewElkCoalCompanyLLC                                      XX-XXXXXXX
BlackWarriorMinerals,Inc.                                 XX-XXXXXXX
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